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                                          8

                                          9                    IN THE UNITED STATES BANKRUPTCY COURT
                                         10                              THE DISTRICT OF ARIZONA
                                         11   In re:
                                                                                            Case No. 2:20-bk-05017-DPC
                                         12
                       P.A., ATTORNEYS




                                              ALAMO CHANDLER, LLC,
   4250 NORTH DRINKWATER BOULEVARD




                                                                                            Joint Administration With
     SCOTTSDALE, ARIZONA 85251-3693




                                         13
                                              ALAMO GILBERT, LLC,                           Cases No. 2:20-bk-05020-DPC
                                         14                                                           2:20-bk-05026-DPC
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                                              ALAMO TEMPE, LLC,
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                                         15
                                                                                            Chapter 11 Proceedings
                                         16                       Debtors.

                                         17

                                         18   THIS FILING APPLIES TO:                       MOTION TO AUTHORIZE THE
                                                    X All Debtors                           INTERIM USE OF CASH CLAIMED
                                         19                                                 AS COLLATERAL AND TO
                                                        Alamo Chandler, LLC                 DETERMINE THAT CERTAIN POST
                                         20        ____ Alamo Gilbert, LLC                  PETITION REVENUES ARE NOT
                                                   ____ Alamo Tempe, LLC                    CASH COLLATERAL
                                         21

                                         22

                                         23            Alamo Chandler, LLC (“Alamo Chandler,”) Alamo Gilbert, LLC, (“Alamo

                                         24   Gilbert,”) and Alamo Tempe, LLC (“Alamo Tempe” and together with Alamo Chandler

                                         25   and Alamo Gilbert, the “Debtors”), debtors-in-possession in the above-referenced

                                         26   bankruptcy cases, hereby move this Court pursuant to 11 U.S.C. §§ 361, 363 and 552, and

                                         27   Bankruptcy Rules 4001 and 9014, for an order authorizing the interim use of cash that may

                                         28   be claimed to be the collateral of certain creditors through September 4, 2020. The cash

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                                          1   implicated by this motion would be used, in accordance with the budgets attached hereto as
                                          2   Exhibits “A,” “B,” and “C,” to pay the ordinary and necessary expenses associated with the
                                          3   resumption and maintenance of the Debtors’ theater and restaurant operations.             Any
                                          4   revenues generated by the Debtors in excess of those described in the budgets attached
                                          5   hereto will be held by the Debtors until such time as the creditors(s) asserting an interest in
                                          6   the implicated cash agrees to, or this Court authorizes, their use. Although the Debtors do
                                          7   not believe that certain portions of the cash sought to be used by this motion are, in fact,
                                          8   cash collateral, they file this motion in an abundance of caution and to facilitate the

                                          9   Debtors’ operations until such time as the Court may fully examine the extent and validity

                                         10   of any liens on post-petition revenues.       This motion is supported by the following

                                         11   memorandum of points and authorities.

                                         12                     MEMORANDUM OF POINTS AND AUTHORITIES
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                                              I.       FACTUAL BACKGROUND
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                                         13

                                         14            1.   On May 13, 2020 (the “Petition Date”), each of the Debtors filed a voluntary
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                                         15   Chapter 11 bankruptcy petition, thereby commencing the above-captioned jointly-

                                         16   administered cases.

                                         17            2.   The Debtors are authorized to operate their businesses as debtors in

                                         18   possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

                                         19            3.   The subject matter of this motion is a core proceeding under 28 U.S.C.

                                         20   §157(b)(2)(A), (M).

                                         21            4.   Each of the Debtors operates an Alamo Drafthouse Cinema (collectively, the

                                         22   “Theaters”) under a franchise agreement with Alamo Drafthouse Cinemas, LLC

                                         23   (“Franchisor”).

                                         24            5.   The Theaters are located, respectively, in Chandler, Gilbert, and Tempe,

                                         25   Arizona.

                                         26            6.   The Debtors business model is to provide patrons of the Theaters with an

                                         27   upscale movie-going experience that includes premium seating and amenities, and access to

                                         28   a full-service menu.

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                                          1            7.    Collectively, the Debtors generated more than $12,500,000 in gross revenues
                                          2   in 2019.
                                          3            8.    On March 19, 2020, Governor Ducey issued Executive Order 2020-09 (the
                                          4   “Executive Order”).
                                          5            9.    The Executive Order compelled the closure of all movie theaters in the state
                                          6   of Arizona to protect against the spread of COVID-19.
                                          7            10.   As a result of the Executive Order, the Debtors Theaters were, and presently
                                          8   remain, closed.
                                          9            11.   The Executive Order forcing the closure of the Theaters, though a series of
                                         10   intervening orders, ultimately expired on May 15, 2020.
                                         11            12.   The Debtors intend to resume the operation of their Theaters, on, or about
                                         12   July 3, 2020, in a manner intended to maximize the safety and comfort of movie-goers, in
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                                         13   light of the continuing concerns surrounding COVID-19.
                                         14            13.   In order to resume operations and enhance the value of their respective
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                                         15   bankruptcy estates during these bankruptcy proceedings, the Debtors must use their cash-
                                         16   on-hand and the income derived from post-petition operations to pay, among other things,
                                         17   the expenses associated with reopening and restocking the Theaters, hiring and training a
                                         18   new workforce, and other ordinary and necessary operating expenses.
                                         19            14.   Each Debtors’ projected income (the “Income”) and expenses (the
                                         20   “Expenses”), for the period of May 15, 2020 through September 4, 2020, are identified in
                                         21   the budgets attached hereto as Exhibits “A,”, “B,” and “C” (each, a “Budget,” and
                                         22   collectively, the “Budgets”).
                                         23            15.   Upon information and belief, based upon pre-petition agreements and UCC-1
                                         24   financing statements, the Debtors suspect that the following parties (collectively, the
                                         25   “Creditors”) may assert a security interest in the Debtors’ cash, inventory, and accounts,
                                         26   and contend that the Debtors’ cash-on-hand and/or Income constitutes “cash collateral” as
                                         27   defined in 11 U.S.C. §363.
                                         28                         a.      Alamo Chandler Creditors
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                                          1                                  (1)    BNC National Bank;
                                          2                                  (2)    U.S. Foods, Inc.;
                                          3                                  (3)    American Express National Bank; and
                                          4                                  (4)    Franchisor.
                                          5                        b.        Alamo Gilbert Creditors
                                          6                                  (1)    Stearns National Bank; and
                                          7                                  (2)    Franchisor.
                                          8                        c.        Alamo Tempe Creditors
                                          9                                  (1)    BNC National Bank; and
                                         10                                  (2)    Franchisor.
                                         11            16.   The Debtors have not had sufficient time to determine the validity, priority,
                                         12   enforceability, or extent of any lien asserted by the Creditors, or any other party, and
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                                         13   expressly reserve their rights to contest any such lien or otherwise object to the claim
                                         14   related thereto.
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                                         15            17.   In the meantime, the Debtors propose to use their cash and the Income to pay
                                         16   the Expenses in accordance with the Budgets, with a ten percent (10%) permissible variance
                                         17   of the total of each Budget.
                                         18            18.   Notably, each debtor received a loan under the Paycheck Protection Program
                                         19   (“PPP”) prior to the Petition Date.
                                         20            19.   The Debtors have segregated the funds each received under the PPP, and will
                                         21   use those funds in a way intended to maximize the extent to which those funds will be
                                         22   considered a grant, rather than a loan.
                                         23            20.   It is crucial for the Debtors to have the use of their cash and the Income to
                                         24   resume and maintain the operation of their businesses in order to enhance and preserve their
                                         25   going-concern value while the Debtors formulate and implement a plan of reorganization.
                                         26            21.   The Debtors believe that their reorganization efforts would suffer immediate
                                         27   and irreparable harm if they were not allowed to use their cash and the Income to pay the
                                         28   Expenses.
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                                          1           22.    The Debtors submit that any purported interests in their cash and the Income
                                          2   are adequately protected by the value generated through the Debtors’ future operations, and
                                          3   request that the Court enter an order authorizing the Debtors to pay the Expenses, as
                                          4   reflected in the Budget, without delay.
                                          5   II.     LEGAL ARGUMENT
                                          6           A.     The Post-Petition Revenues Generated by the Debtors Not Cash
                                                             Collateral. 1
                                          7

                                          8           Section 552(a) of the Bankruptcy Code sets forth the general rule that “property

                                          9   acquired by the estate or by the debtor after the commencement of the case is not subject to

                                         10   any lien resulting from any security agreement entered into by the debtor before the

                                         11   commencement of the case.” This elimination of liens on property acquired after the

                                         12   petition date is intended “to allow a debtor to gather into the estate as much money as
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                                              possible to satisfy the claims of all creditors.” In re Bering Trader, Inc., 944 F.2d 500, 502
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                                         13

                                         14   (9th Cir. 1991). As such, because all of the Debtors’ future revenues will be acquired
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                                              subsequent to the Petition Date, Section 552(a) would dictate that they be free of all pre-
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                                         15

                                         16   petition security interests, and therefore not treated as cash collateral during the Debtors’

                                         17   bankruptcy.

                                         18           Section 552(b) of the Bankruptcy Code, however, articulates a limited exception to

                                         19   Section 552(a)’s general rule. Section 552(b) allows the continuation of a security interest

                                         20   in proceeds, products, offspring, and profits of property acquired pre-petition, to the extent

                                         21   provided by the security agreement or applicable non-bankruptcy law. The exception

                                         22   created by Section 552(b), though, is to be construed narrowly. See In re Bering Trader,

                                         23   Inc., 944 at 502. Any secured creditor hoping to continue the effectiveness of its security

                                         24   interest in bankruptcy bears the burden of establishing that its lien comports with the strict

                                         25

                                         26

                                         27           1
                                                        It is likely that some portion of the Debtors’ cash and Income constitutes cash collateral,
                                             while the remainder may not. The Debtors are still conducting an analysis of their various assets
                                         28 and income streams and reserve the right to supplement this motion to specifically identify which
                                             assets they believe are not subject to any pre-petition security interests.
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                                          1   requirements of Section 552(b). See e.g. In re Transp. Design & Technology, Inc., 48 B.R.
                                          2   635, 640 (Bankr. S.D. Cal. 1985).
                                          3            By application of Section 552(a) and (b), various revenues generated through the
                                          4   post-petition operation of a debtor’s business are not subject to pre-petition security
                                          5   interests because they are received subsequent to the petition date, and do not qualify as
                                          6   proceeds, products, offspring, or profits of pre-petition collateral. See In re Skagit Pacific
                                          7   Corporation, 316 B.R. 330, 336 (B.A.P. 9th Cir. 2004)(“revenue generated by the operation
                                          8   of a debtor's business, post-petition, is not considered proceeds if such revenue represents
                                          9   compensation for goods and services rendered by the debtor in its everyday business
                                         10   performance.”); In re Zeeway Corp., 71 B.R. 210, 211 (B.A.P. 9th Cir. 1987); In re
                                         11   McCann, 140 B.R. 926 (Bankr. D. Mass 1992)(holding that post-petition fees, restaurant
                                         12   and bar revenues, and sales of goods and services by a golf pro shop were not cash
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                                         13   collateral.).
                                         14            Applying this analysis specifically to post-petition revenues generated through the
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                                         15   sale of food and beverage, which comprise a significant portion of the Debtors’ Income,
                                         16   Courts have found that such revenues do not fall within the exception of Section 552(b),
                                         17   because they are not proceeds or profits of pre-petition property but, rather, derivative of the
                                         18   services provided by the debtor, and therefore not subject to any pre-petition security
                                         19   interests.      In re Cafeteria Operators, L.P., 299 B.R. 400, 409-10 (Bankr. N.D. Tex.
                                         20   2003)(finding that “the restaurant industry is a service-oriented industry,” and that “if
                                         21   consumers were solely purchasing the food component, they would look to the local
                                         22   grocery store, for example, to make such a purchase.”); see In re Everett Home Town
                                         23   Limited Partnership, 146 B.R. 453, 456 (Bankr. Ariz. 1992)(noting that “the income is not
                                         24   proceeds of the property but the result of the services provided by the business”).
                                         25            Even in cases, such as this, where creditors may claim a security interest in a
                                         26   debtor’s pre-petition inventory, and attempt to assert a lien on post-petition revenues under
                                         27   the theory that those revenues are the proceeds of the debtor’s pre-petition inventory, Courts
                                         28   have concluded that, although such revenues may, in part, represent proceeds of the
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                                          1   debtor’s pre-petition inventory, they are primarily derived from the debtor’s post-petition
                                          2   services, and therefore not subject to pre-petition liens. In re Inman, 95 B.R. 479, 480-481
                                          3   (Bankr. W.D. Ky. 1988)(concluding that the debtors “were primarily engaged in the selling
                                          4   of services and therefore, any revenues generated from the operation of the businesses were
                                          5   not from the sale of inventory [and therefore] the cash deposits on hand do not constitute
                                          6   proceeds from the sale of inventory”). U.S. Bank Trust Nat’l Assoc. v. Venice MD LLC, et
                                          7   al, 92 Fed.Appx. 948, 953, 2004 WL 527827 (4th Cir. 2004)(unpublished)(“The depletion
                                          8   of the hotel's food and beverage inventory did not generate revenue by direct sale, as would,
                                          9   for example, selling groceries from a store. Hotel and restaurant establishments are service-
                                         10   oriented businesses; customers pay not just for the food itself, but also for the preparation,
                                         11   atmosphere, and service.”).
                                         12            In this case, the post-petition revenues generated by the Debtors are attributable, in
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                                         13   very substantial part, to the Debtors’ post-petition services. They are not merely proceeds
                                         14   of the Debtors’ pre-petition inventory or other property. Even if this Court determines,
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                                         15   however, that at least some portion of the Debtors’ post-petition revenues are the proceeds
                                         16   of pre-petition inventory, the Debtors are willing to grant the Creditors a replacement lien
                                         17   on post-petition inventory, to the same extent, and with the same validity and priority, as
                                         18   existed pre-petition.    As such, effectively, any portion of the Debtors’ revenues that
                                         19   constitute proceeds of pre-petition inventory will be used to purchase new inventory in
                                         20   which the Creditors will hold a post-petition lien. “If the inventory levels remain the same,
                                         21   the [Creditors’] cash collateral is not being utilized by Debtor other than to replenish [the
                                         22   Creditors’] secured collateral, whether secured by the pre-petition lien or the replacement
                                         23   lien.” In re Cafeteria Operators, L.P., 299 B.R. 400, 409-10 (Bankr. N.D. Tex. 2003). In
                                         24   light of this replacement lien, and upon application of the foregoing case law, the Debtors
                                         25   submit that their post-petition revenues must be concluded to be free and clear of any pre-
                                         26   petition security interests and, consequently, not subject to the limitations typically placed
                                         27   upon cash collateral.
                                         28
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                                          1            B.    Even if The Debtors Cash and Income Are Cash Collateral, the
                                                             Creditors’ Interests Therein are Adequately Protected.
                                          2

                                          3
                                                       Even if the Debtors’ cash and post-petition revenues are treated as cash collateral

                                          4   until such time as a decision can be reached on the extent of any liens that exist post-

                                          5   petition, though, the Creditors’ interests therein are adequately protected, as set forth below,

                                          6   and the use of the Debtors’ cash and Income to pay the Expenses should be authorized.

                                          7            Pursuant to Section 363(c)(2) of the Bankruptcy Code, the use of cash collateral is

                                          8   permitted only upon consent of the party claiming an interest therein, or with court

                                          9   authority after notice and a hearing. Section 363(e) of the Code conditions the use of cash

                                         10   collateral on the provision, where necessary, of adequate protection.           Such adequate

                                         11   protection must be furnished only to the extent necessary to protect a secured creditor

                                         12   against use of collateral that would decrease the value of such creditor’s interest in its
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                                              collateral. 11 U.S.C. § 361; see United Savs. Ass’n Timbers of In-wood Forest Ass’n Ltd.
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                                         13

                                         14   484 U.S. 365, 369-73 (1988) (the “interest in property” entitled to protection is “the value
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                                              of the collateral” that secures such claim). The measure of adequate protection to which a
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                                         15

                                         16   given secured creditor may be entitled should be determined through case-by-case analysis,

                                         17   and with the goal of allowing the debtor maximum flexibility in affording such adequate

                                         18   protection.    In re Martin, 761 F.2d 472, 474 (8th Cir. 1985).             Courts have been

                                         19   understandably reluctant to forbid the reasonable and well-controlled use of cash collateral

                                         20   in realization of the death knell that such a restriction may represent for a debtor’s prospects

                                         21   at reorganization. See In re Franklin Pembroke Venture II, 105 B.R. 276, 277-78 (Bankr.

                                         22   E.D.Pa. 1989); In re Stein, 19 B.R. 458, 459 (Bankr. Pa., 1982)(“[T]he purpose of Chapter

                                         23   11 is to rehabilitate debtors and generally, access to cash collateral is necessary in order to

                                         24   operate a business.”).

                                         25            C.    The Creditors’ Interests are Adequately Protected by the Going-Concern
                                                             Value of the Debtors’ Business.
                                         26
                                                       First and foremost, it must be remembered that denying Debtors the use of cash
                                         27
                                              collateral would almost inevitably result in a liquidation.        The reorganization of an
                                         28
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                                          1   enterprise of the Debtors’ magnitude is simply not possible without the availability of
                                          2   significant amounts of cash. Although the Creditors may refuse consent to the Debtors’ use
                                          3   of cash collateral, nothing could be more deleterious to their interests than a liquidation.
                                          4   The Debtors do not own any real estate, or have any other assets that would generate
                                          5   substantial value in a liquidation context. The only manner in which the Creditors’ interests
                                          6   may be protected in this case is through the Debtors’ resumption and continuation of
                                          7   business operations. Courts have acknowledged this principle in holding that preservation
                                          8   of a company’s going-concern value may attribute to a creditor’s security. See In re Erie
                                          9   Hilton Joint Venture, 125 B.R. 140, 149 (Bankr. W.D. Pa. 1991) (“[p]reservation of the
                                         10   going-concern value of the business can constitute a benefit to the secured creditor.”); see
                                         11   also In re Princeton Square Assocs., 201 B.R. 90, 96 (Bankr. S.D.N.Y. 1996) (“[T]his court
                                         12   concludes that no monetary protection is required to be provided by the debtor in possession
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                                         13   to the secured creditor to the extent that the rents are applied for the maintenance of the
                                         14   property in the manner a receiver would apply the rents.”).
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                                         15            As an operating enterprise, the Debtors are capable of generating millions of dollars
                                         16   in revenue that can be put towards the payment of not only the Creditors asserting a lien in
                                         17   cash collateral, but all of the Debtors’ creditors. Conversely, if the Debtors are denied the
                                         18   use of cash collateral requested herein, and forced into liquidation, their estates become of
                                         19   little relative value. Enhancement and preservation of the going concern value of the
                                         20   Debtors’ businesses is the only manner in which any of the creditors in this case may be
                                         21   protected, and the use of the Debtors’ cash and Income to create and increase that value
                                         22   satisfies the requirements of Section 361 of the Bankruptcy Code.
                                         23            D.     To the Extent the Court Determines that the Creditors Have Liens in
                                                              Cash Collateral, the Debtors Are Willing to Provide Replacement Liens
                                         24
                                                              on Post-Petition Assets to the Same Extent, Validity, and Priority as
                                         25                   Enjoyed Pre-Petition.

                                         26            As further protection, to the extent that the Creditors are determined to have a lien in
                                         27   cash collateral, the Debtors are willing to grant the Creditors a replacement lien on their
                                         28   respective collateral, to the same extent, and with the same validity and priority, as held on
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                                          1   the Petition Date. The provision of replacement lien is a common and accepted method of
                                          2   providing adequate protection to a secured creditor. See e.g. In re Wrecclesham Grange,
                                          3   Inc., 221 B.R. 978, 981 (Bankr. N.D. Fla. 1997); In re Barkley 3A Investors, Ltd., 175 B.R.
                                          4   755, 759 (Bankr. Kan. 1994).
                                          5   III.     CONCLUSION
                                          6            Based upon the foregoing, the Debtors respectfully request that this Court enter an
                                          7   order:
                                          8            1.    Authorizing the interim use of all of the Debtors’ cash and Income, in
                                          9   accordance with the Budgets, as augmented by a 10% total variance, through and including
                                         10   September 4, 2020;
                                         11            2.    Determining that any interest held by the Creditors’ in the Debtors’ cash and
                                         12   post-petition revenues are adequately protected;
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                                         13            3.    Establishing a briefing and hearing schedule to be employed in determining
                                         14   whether or not the Debtors’ post-petition revenues are subject to any pre-petition lien or
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                                         15   security interest; and
                                         16            4.    Awarding the Debtors such further relief as the Court deems appropriate.
                                         17            DATED: May 27, 2020.
                                         18
                                                                                         SACKS TIERNEY P.A.
                                         19

                                         20
                                                                                         By:
                                         21                                                    Wesley D. Ray
                                                                                               Philip R. Rudd
                                         22                                                    Attorneys for Debtors
                                         23

                                         24   COPY of the foregoing mailed (or served
                                              via electronic notification if indicated by an
                                         25   “*”) on May 27, 2020, to:
                                         26

                                         27

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                                              Attorneys for Alamo Drafthouse Cinemas,       LLC
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                                         15   LLC
                                         16
                                              Jordan N. Hopkins *                           American Express Bank
                                         17   Jordan.Hopkins@stearnsbank.com                4315 South 2700 West
                                              STEARNS BANK N.A.                             Salt Lake City, UT 84184
                                         18   4191 2nd Street South
                                         19   St. Cloud, MN 56301
                                              Attorneys for Stearns Bank, N.A.
                                         20
                                              US Foods, Inc.                                Debtors’ Top 20 Unsecured Creditors
                                         21
                                              4650 W. Buckeye Road
                                         22   Phoenix, AZ 85043

                                         23
                                              By:          /s/ Cathie Bernales
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                                                 Alamo Chandler LLC
                                                  60 day Projection

                                         Projection            Projection         Projection      Projection        Total
                                     05/15/20 - 06/14/20   06/15/20 - 07/02/20 07/03/20- 8/6/20 8/7/20- 9/4/20
Revenues                                                                             P7         P8
Box Office Receipts
Box Office Receipts
Retail Ticket Sales                  $              -    $               -    $      23,717.00 $ 23,717.00 $ 47,434.00
Internet Ticket Sales                               0.00                 0.00         68,101.00   68,101.00 136,202.00
Fandango Ticket Sales                               0.00                 0.00          6,264.00    6,264.00  12,528.00
Season Pass                                         0.00                 0.00             29.00       29.00      58.00
Talent Fee Sales                                    0.00                 0.00             67.00       67.00     134.00
Internet Fee Sales                                  0.00                 0.00
                                                                         0.00          6,845.00
                                                                                           0.00      6,845.00
                                                                                                         0.00     13,690.00
Total Box Office Receipts                           0.00                 0.00       105,023.00     105,023.00     210,046.00

Venue Rental & Other Income
Venue Rental Sales                                  0.00                 0.00              0.00          0.00               -
Special Event Sales                                 0.00                 0.00              0.00          0.00               -
Gift Card Discount Revenue                          0.00                 0.00              0.00          0.00               -

Total Venue Rental & Other Income                   0.00                 0.00              0.00          0.00               0.00

Gross Ticket & Venue Rental                         0.00                 0.00       105,023.00     105,023.00     210,046.00

Food and N/A Beverage Sales
Food Sales                                          0.00                 0.00        93,674.00      93,674.00    187,348.00
NA Beverage Sales                                   0.00                 0.00        20,078.00      20,078.00     40,156.00
Dessert Sales                                       0.00                 0.00         7,999.00       7,999.00     15,998.00
Retail Sales                                        0.00                 0.00           239.00         239.00        478.00

Total Food & N/A Beverage Sales                     0.00                 0.00       121,990.00     121,990.00     243,980.00

Beer & Wine Sales
Bottled Beer Sales                                  0.00                 0.00         2,532.00       2,532.00      5,064.00
Draft Beer Sales                                    0.00                 0.00        15,354.00      15,354.00     30,708.00
Wine Sales                                          0.00                 0.00         5,601.00       5,601.00     11,202.00
Liquor Sales                                        0.00                 0.00        14,237.00      14,237.00     28,474.00

Total Beer and Wine Sales                           0.00                 0.00        37,724.00      37,724.00       75,448.00

Gross Food & Ale Sales                              0.00                 0.00       159,714.00     159,714.00     319,428.00

Food Comps                                          0.00                  0.00       (9,853.00)     (9,853.00)   (19,706.00)
Alc Comps                                           0.00                  0.00       (1,207.00)     (1,207.00)    (2,414.00)
Total Comps                                         0.00                 0.00       (11,060.00)    (11,060.00)    (22,120.00)

Net Sales                                           0.00                 0.00       253,677.00     253,677.00     507,354.00

Cost of Sales
Cost of Box Office
Film Rental                                                                          41,556.00      41,556.00       83,112.00


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                                           Alamo Chandler LLC
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Film Shipping                                0.00                 0.00       222.00       222.00         444.00
Box Office Split                             0.00                 0.00         0.00         0.00           0.00
Access Digital Cinema                        0.00                 0.00       202.00       202.00         404.00
Projector Usage Fees                         0.00                 0.00         0.00         0.00           0.00
Special Event Supplies                       0.00                 0.00     1,700.00     1,700.00       3,400.00
Creative Department Billing                  0.00                 0.00         0.00         0.00           0.00

Total Cost of Box Office                      0.00                0.00    43,680.00    43,680.00      87,360.00

Cost of Food N/A Bev
COGS - Dairy                                  0.00              732.00     3,510.00     3,510.00       7,752.00
COGS - Meats                                  0.00              712.00     1,673.00     1,673.00       4,058.00
COGS - Seafood                                0.00               92.00       502.00       502.00       1,096.00
COGS - Poultry                                0.00              312.00     1,673.00     1,673.00       3,658.00
COGS - Produce                                0.00              216.00     1,171.00     1,171.00       2,558.00
COGS - Bakery                                 0.00              184.00     1,004.00     1,004.00       2,192.00
COGS - Grocery                                0.00              104.00     5,602.00     5,602.00      11,308.00
COGS - Paper                                  0.00              576.00     3,092.00     3,092.00       6,760.00
COGS - Desserts                               0.00              356.00     1,493.00     1,493.00       3,342.00
COGS - N/A Beverages                          0.00              716.00     1,700.00     1,700.00       4,116.00

Total Cost of Food N/A Bev                   0.00           4,000.00      21,420.00    21,420.00      46,840.00

Cost of Beer & Wine
COGS - Bottled Beer                           0.00            213.00         569.00       569.00       1,351.00
COGS - Draft Beer                             0.00          1,568.00       4,392.00     4,392.00      10,352.00
COGS - Wine                                   0.00            256.00         579.00       579.00       1,414.00
COGS - Liquor                                 0.00            853.00       2,487.00     2,487.00       5,827.00

Total Cost of Beer & Wine                    0.00           2,890.00       8,027.00     8,027.00      18,944.00

Cost of Venue Rental
VR Commission                                 0.00                0.00         0.00         0.00           0.00
Celebrity Appearance                          0.00                0.00         0.00         0.00           0.00
Merchandise                                   0.00                0.00         0.00         0.00           0.00
COGS - Smallwares                             0.00                0.00         0.00         0.00           0.00

Total Cost of Venue Rental                   0.00                 0.00         0.00         0.00           0.00

Total Cost of Goods Sold                      0.00          6,890.00      73,127.00    73,127.00   153,144.00

Gross Profit                                  0.00         (6,890.00)    180,550.00   180,550.00   354,210.00




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                                            Alamo Chandler LLC
                                             60 day Projection
Expenses
Payroll
Front of House
Server/Waiter                                  0.00                0.00    8,619.00    8,619.00      17,238.00
Bar                                            0.00                0.00    2,763.00    2,763.00       5,526.00
Runner                                         0.00                0.00    4,733.00    4,733.00       9,466.00
Trainee                                        0.00                0.00      876.00      876.00       1,752.00
Floor Support                                  0.00                0.00        0.00        0.00           0.00
Private Party Server                           0.00                0.00        0.00        0.00           0.00
Labor Service Fees                             0.00                0.00        0.00        0.00           0.00

Total Front of House                           0.00                0.00   16,991.00   16,991.00      33,982.00
Back of House
BOH
Kitchen                                        0.00                0.00   15,848.00   15,848.00      31,696.00
Expo                                           0.00                0.00        0.00        0.00           0.00

Total Back of House                            0.00                0.00   15,848.00   15,848.00      31,696.00
Manager Expenses
Manager                                    7,799.09          9,895.89      7,461.00    7,461.00      32,616.98
Manager Hourly                                 0.00              0.00      1,846.00    1,846.00       3,692.00
PCE                                            0.00              0.00      1,154.00    1,154.00       2,308.00
Programming                                    0.00              0.00      1,688.00    1,688.00       3,376.00
Salary Allocations                             0.00              0.00      2,154.00    2,154.00       4,308.00
Manager Bonus                                  0.00              0.00          0.00        0.00           0.00

Total Manager                              7,799.09          9,895.89     14,303.00   14,303.00      46,300.98
Box Office Labor
Tickets                                        0.00                0.00    2,508.00    2,508.00       5,016.00
Projection                                     0.00                0.00    1,154.00    1,154.00       2,308.00
Total Box Office Labor                         0.00                0.00    3,662.00    3,662.00       7,324.00
Other Labor
Maintenance                                    0.00                0.00     922.00      922.00        1,844.00
Meeting                                        0.00                0.00      62.00       62.00          124.00

Total Other Labor                              0.00                0.00     984.00      984.00        1,968.00
Employee Related
FUTA                                           0.00                0.00      427.00      427.00         854.00
Medicare-Matching                            128.68              163.28    1,176.00    1,176.00       2,643.97
Social Security- Matching                    483.54              613.55    5,030.00    5,030.00      11,157.09
SUI                                            0.00                0.00    1,079.00    1,079.00       2,158.00
Vacation                                       0.00                0.00        0.00        0.00           0.00
Payroll Processing Fees                      100.00              100.00    2,762.00    2,762.00       5,724.00
Recruiting                                     0.00                0.00        0.00        0.00           0.00

Total Employee Related                       712.23              876.83   10,474.00   10,474.00      22,537.06

Total Payroll                              8,511.32         10,772.72     62,262.00   62,262.00   143,808.04
Promotional


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                                           Alamo Chandler LLC
                                            60 day Projection
Promotional
Advertising                                    0.00             0.00    1,235.00    1,659.00       2,894.00
Adv. Creative Dept Billing                     0.00             0.00        0.00        0.00           0.00
Advertising - Local                            0.00             0.00    2,000.00    2,000.00       4,000.00
Marketing                                      0.00         1,000.00    1,922.00    1,538.00       4,460.00
Special Events                                 0.00             0.00        0.00        0.00           0.00
Charitable Contributions                       0.00             0.00        0.00        0.00           0.00

Total Promotional                              0.00         1,000.00    5,157.00    5,197.00      11,354.00
Insurance
Commercial                                 4,790.00         4,790.00    3,370.00    3,370.00      16,320.00
Health                                       645.00           645.00    1,999.00    1,999.00       5,288.00
Life Insurance                                 0.00             0.00        0.00        0.00           0.00
Workers Compensation                           0.00             0.00    1,862.00    1,862.00       3,724.00

Total Insurance                            5,435.00         5,435.00    7,231.00    7,231.00      25,332.00
Utilities
Cable                                        470.00           470.00      941.00      470.00       2,351.00
Electric                                   8,304.00         8,304.00   15,641.00   14,560.00      46,809.00
Gas                                          990.00           990.00    1,020.00      994.00       3,994.00
Water                                        236.00           236.00      277.00      247.00         996.00

Total Utilites                            10,000.00        10,000.00   17,879.00   16,271.00      54,150.00
Repair & Maintenance
Disposal Fees                                  0.00             0.00        0.00        0.00           0.00
Equipment Repairs                              0.00             0.00      234.00      296.00         530.00
Kitchen Equipment Repair                       0.00             0.00    2,684.00    1,156.00       3,840.00
Projection Repair                              0.00             0.00    1,321.00    1,321.00       2,642.00
Preventative Maintenance                       0.00             0.00    2,864.00    3,738.00       6,602.00
Fixed Rental                                   0.00             0.00      777.00    1,018.00       1,795.00
Janitorial                                 5,000.00         3,500.00    8,208.00    6,000.00      22,708.00
Pest Control                                   0.00             0.00      300.00        0.00         300.00
Trash Removal                                  0.00             0.00        0.00        0.00           0.00
Smallwares                                     0.00             0.00      368.00      489.00         857.00
Projection Supplies                            0.00             0.00    5,811.00    5,811.00      11,622.00
Film Supplies                                  0.00             0.00       34.00       47.00          81.00

Total Repair & Maintenance                 5,000.00         3,500.00   22,601.00   19,876.00      50,977.00




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                                                      Alamo Chandler LLC
                                                       60 day Projection
Office & General Administrative Expense
Facility Expense
Rent or Lease                                        40,317.41             0.00      16,613.00     21,901.00       78,831.41
Security                                                  0.00             0.00           0.00          0.00            0.00
Storage                                                   0.00             0.00           0.00          0.00            0.00
Telephone                                                 0.00             0.00         940.00        940.00        1,880.00
Property Tax                                              0.00             0.00       1,161.00      1,161.00        2,322.00
Other Taxes                                               0.00             0.00           0.00          0.00            0.00
Armored Car Service                                       0.00             0.00           0.00          0.00            0.00
Quality Control                                           0.00             0.00           0.00          0.00            0.00
Printing                                                  0.00             0.00          62.00         83.00          145.00

Total Facility Expense                               40,317.41             0.00      18,776.00     24,085.00       83,178.41
Office Expense
Merchant Service Fees                                     0.00             0.00       5,431.00      7,021.00       12,452.00
Office Expense                                            0.00             0.00           0.00          0.00            0.00
Bank Charges                                              0.00             0.00           0.00          0.00            0.00
Delivery                                                  0.00             0.00          17.00         22.00           39.00
Dues & Subscriptions                                      0.00             0.00           7.00         10.00           17.00
Professional Fees                                         0.00             0.00         235.00        305.00          540.00
Equipment                                                 0.00             0.00           0.00          0.00            0.00
Film Booking Fee                                          0.00             0.00         547.00        708.00        1,255.00
Licenses & Permits                                        0.00             0.00         165.00        221.00          386.00
Supplies                                                  0.00             0.00          78.00        105.00          183.00
Travel                                                    0.00             0.00         178.00        227.00          405.00
Entertainment                                             0.00             0.00           3.00          4.00            7.00
Staff Benefits                                            0.00             0.00         204.00        271.00          475.00
Uniform                                                   0.00             0.00         106.00        142.00          248.00

Total Office Expense                                      0.00             0.00       6,971.00      9,036.00       16,007.00
Other Expenses
Royalty Fees                                              0.00             0.00       3,323.00      4,380.00        7,703.00
Internet Fees                                             0.00             0.00       5,266.00      6,971.00       12,237.00
Management Fees                                           0.00             0.00       2,492.00      3,285.00        5,777.00
Total Other Expenses                                      0.00             0.00      11,081.00     14,636.00       25,717.00
Total EBIDTA Expenses                                69,263.72        30,707.72     151,958.00   158,594.00       410,523.44
Net EBIDTA                                ($        69,263.72) ($    37,597.72) $    28,592.00 $ 21,956.00 ($     56,313.44)


Depreciation                                              0.00             0.00      18,752.00     18,752.00       37,504.00
Interest Expense                                          0.00             0.00           0.00          0.00            0.00
Total Other Expenses                                      0.00             0.00      18,752.00     18,752.00       37,504.00

Net Income                                ($        69,263.72) ($    37,597.72) $     9,840.00 $    3,204.00 ($   93,817.44)




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                                                      Alamo Gilbert LLC
                                                      60 day Projection

                                        Projection          Projection         Projection      Projection       Total
                                    05/15/20 - 06/14/20 06/15/20 - 07/02/20 07/03/20- 8/6/20 8/7/20- 9/4/20
Revenues                                                                          P7         P8
Box Office Receipts
Box Office Receipts
Retail Ticket Sales                 $              -    $              -    $     34,132.00 $ 34,132.00 $ 68,264.00
Internet Ticket Sales                              0.00                0.00        53,131.00   53,131.00 106,262.00
Fandango Ticket Sales                              0.00                0.00         8,327.00    8,327.00  16,654.00
Iphone Sales                                       0.00                0.00        11,063.00   11,063.00  22,126.00
Talent Fee Sales                                   0.00                0.00           169.00      169.00     338.00
Internet Fee Sales                                 0.00                0.00
                                                                       0.00         9,355.00
                                                                                        0.00      9,355.00
                                                                                                      0.00     18,710.00
Total Box Office Receipts                          0.00                0.00       116,177.00    116,177.00     232,354.00

Venue Rental & Other Income
Venue Rental Sales                                 0.00                0.00             0.00          0.00              -
Special Event Sales                                0.00                0.00             0.00          0.00              -
Gift Card Discount Revenue                         0.00                0.00             0.00          0.00              -

Total Venue Rental & Other Income                  0.00                0.00             0.00          0.00              0.00

Gross Ticket & Venue Rental                        0.00                0.00      116,177.00     116,177.00     232,354.00

Food and N/A Beverage Sales
Food Sales                                         0.00                0.00       108,541.00    108,541.00    217,082.00
NA Beverage Sales                                  0.00                0.00        17,206.00     17,206.00     34,412.00
Dessert Sales                                      0.00                0.00         8,527.00      8,527.00     17,054.00
Retail Sales                                       0.00                0.00           429.00        429.00        858.00

Total Food & N/A Beverage Sales                    0.00                0.00       134,703.00    134,703.00     269,406.00

Beer & Wine Sales
Bottled Beer Sales                                 0.00                0.00         3,694.00      3,694.00      7,388.00
Draft Beer Sales                                   0.00                0.00        29,571.00     29,571.00     59,142.00
Wine Sales                                         0.00                0.00         6,716.00      6,716.00     13,432.00
Liquor Sales                                       0.00                0.00        23,140.00     23,140.00     46,280.00

Total Beer and Wine Sales                          0.00                0.00        63,121.00     63,121.00     126,242.00

Gross Food & Ale Sales                             0.00                0.00      197,824.00     197,824.00     395,648.00

Food Comps                                         0.00                0.00      (11,210.00)    (11,210.00)   (22,420.00)
Alc Comps                                          0.00                0.00       (1,913.00)     (1,913.00)    (3,826.00)
Total Comps                                        0.00                0.00      (13,123.00)    (13,123.00)    (26,246.00)

Net Sales                                          0.00                0.00       300,878.00    300,878.00     601,756.00

Cost of Sales
Cost of Box Office
Film Rental                                        0.00                0.00        53,194.00     53,194.00     106,388.00
Film Shipping                                      0.00                0.00           173.00        173.00         346.00
Box Office Split                                   0.00                0.00             0.00          0.00           0.00
Access Digital Cinema                              0.00                0.00           352.00        352.00         704.00
Projector Usage Fees                               0.00                0.00             0.00          0.00           0.00


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                                                 Alamo Gilbert LLC
                                                 60 day Projection
Special Event Supplies                        0.00              0.00      2,716.00     2,716.00     5,432.00
Creative Department Billing                   0.00              0.00          0.00         0.00         0.00

Total Cost of Box Office                      0.00              0.00     56,435.00    56,435.00   112,870.00

Cost of Food N/A Bev
COGS - Dairy                                  0.00            732.00      3,772.00     3,772.00     8,276.00
COGS - Meats                                  0.00            712.00      2,155.00     2,155.00     5,022.00
COGS - Seafood                                0.00             92.00        674.00       674.00     1,440.00
COGS - Poultry                                0.00            312.00      2,829.00     2,829.00     5,970.00
COGS - Produce                                0.00            216.00      1,886.00     1,886.00     3,988.00
COGS - Bakery                                 0.00            184.00      1,751.00     1,751.00     3,686.00
COGS - Grocery                                0.00            104.00      7,409.00     7,409.00    14,922.00
COGS - Paper                                  0.00            576.00      3,368.00     3,368.00     7,312.00
COGS - Desserts                               0.00            356.00      2,155.00     2,155.00     4,666.00
COGS - N/A Beverages                          0.00            716.00      2,290.00     2,290.00     5,296.00

Total Cost of Food N/A Bev                    0.00          4,000.00     28,289.00    28,289.00    60,578.00

Cost of Beer & Wine
COGS - Bottled Beer                           0.00            213.00        776.00       776.00     1,765.00
COGS - Draft Beer                             0.00          1,568.00      5,084.00     5,084.00    11,736.00
COGS - Wine                                   0.00            256.00      2,015.00     2,015.00     4,286.00
COGS - Liquor                                 0.00            853.00      2,258.00     2,258.00     5,369.00

Total Cost of Beer & Wine                     0.00          2,890.00     10,133.00    10,133.00    23,156.00

Cost of Venue Rental
VR Commission                                 0.00              0.00          0.00         0.00         0.00
Celebrity Appearance                          0.00              0.00          0.00         0.00         0.00
Merchandise                                   0.00              0.00          0.00         0.00         0.00
COGS - Smallwares                             0.00              0.00          0.00         0.00         0.00

Total Cost of Venue Rental                    0.00              0.00          0.00         0.00         0.00

Total Cost of Goods Sold                      0.00          6,890.00     94,857.00    94,857.00   196,604.00

Gross Profit                                  0.00         (6,890.00)   206,021.00   206,021.00   405,152.00

Expenses
Payroll
Front of House
Server/Waiter                                 0.00              0.00      8,056.00     8,056.00    16,112.00
Bar                                           0.00              0.00      5,967.00     5,967.00    11,934.00
Runner                                        0.00              0.00      4,642.00     4,642.00     9,284.00
Trainer                                       0.00              0.00        527.00       527.00     1,054.00
Trainee                                       0.00              0.00        895.00       895.00     1,790.00
Private Party Server                          0.00              0.00          0.00         0.00         0.00
Labor Service Fees                            0.00              0.00          0.00         0.00         0.00

Total Front of House                          0.00              0.00     20,087.00    20,087.00    40,174.00
Back of House
BOH
Kitchen                                       0.00              0.00     18,795.00    18,795.00    37,590.00
Expo                                          0.00              0.00          0.00         0.00         0.00


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Total Back of House                         0.00              0.00   18,795.00   18,795.00    37,590.00
Manager Expenses
Manager                                 7,799.09          9,895.89    7,230.00    7,230.00    32,154.98
Manager Hourly                              0.00              0.00    1,846.00    1,846.00     3,692.00
PCE                                         0.00              0.00    2,290.00    2,290.00     4,580.00
Programming                                 0.00              0.00    1,600.00    1,600.00     3,200.00
Salary Allocations                          0.00              0.00    2,154.00    2,154.00     4,308.00
Manager Bonus                               0.00              0.00        0.00        0.00         0.00

Total Manager                           7,799.09          9,895.89   15,120.00   15,120.00    47,934.98
Box Office Labor
Tickets                                     0.00              0.00    1,640.00    1,640.00     3,280.00
Projection                                  0.00              0.00    1,154.00    1,154.00     2,308.00
Total Box Office Labor                      0.00              0.00    2,794.00    2,794.00     5,588.00
Other Labor
Maintenance                                 0.00              0.00     922.00      922.00      1,844.00
Meeting                                     0.00              0.00      91.00       91.00        182.00

Total Other Labor                           0.00              0.00    1,013.00    1,013.00     2,026.00
Employee Related
FUTA                                       0.00               0.00      445.00      445.00       890.00
Medicare-Matching                        128.68             163.28    1,697.00    1,697.00     3,685.97
Social Security- Matching                483.54             613.55    6,923.00    6,923.00    14,943.09
SUI                                        0.00               0.00    4,167.00    4,167.00     8,334.00
Vacation                                   0.00               0.00        0.00        0.00         0.00
Payroll Processing Fees                  100.00             100.00    1,025.00    1,025.00     2,250.00
Recruiting                                 0.00               0.00        0.00        0.00         0.00

Total Employee Related                   712.23             876.83   14,257.00   14,257.00    30,103.06

Total Payroll                           8,511.32         10,772.72   72,066.00   72,066.00   163,416.04
Promotional
Promotional
Advertising                                 0.00          3,333.00    2,000.00    2,000.00     7,333.00
Adv. Creative Dept Billing                  0.00              0.00       27.00       43.00        70.00
Advertising - Local                         0.00              0.00      383.00    1,580.00     1,963.00
Marketing                                   0.00          1,000.00    2,404.00    2,404.00     5,808.00
Special Events                              0.00              0.00       70.00      110.00       180.00
Charitable Contributions                    0.00              0.00        0.00        0.00         0.00

Total Promotional                           0.00          4,333.00    4,884.00    6,137.00    15,354.00
Insurance
Commercial                              4,790.00          4,790.00    5,051.00    5,051.00    19,682.00
Health                                    645.00            645.00    1,622.00    1,622.00     4,534.00
Life Insurance                              0.00              0.00        0.00        0.00         0.00
Workers Compensation                        0.00              0.00    2,375.00    2,375.00     4,750.00

Total Insurance                         5,435.00          5,435.00    9,048.00    9,048.00    28,966.00
Utilities
Cable                                     470.00            470.00      262.00       76.00     1,278.00
Electric                                8,304.00          8,304.00   10,894.00   10,315.00    37,817.00
Gas                                       990.00            990.00      736.00    1,060.00     3,776.00



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Water                                         236.00             236.00    1,604.00    2,511.00     4,587.00

Total Utilites                              10,000.00         10,000.00   13,496.00   13,962.00    47,458.00
Repair & Maintenance
Disposal Fees                                    0.00              0.00        0.00        0.00         0.00
Equipment Repairs                                0.00              0.00    2,237.00    3,240.00     5,477.00
Kitchen Equipment Repair                         0.00              0.00    1,314.00      669.00     1,983.00
Projection Repair                                0.00              0.00        0.00        0.00         0.00
Preventative Maintenance                         0.00              0.00    1,356.00    2,013.00     3,369.00
Fixed Rental                                     0.00              0.00    1,202.00    1,843.00     3,045.00
Janitorial                                   5,000.00          3,500.00    2,656.00    4,157.00    15,313.00
Pest Control                                     0.00              0.00        0.00        0.00         0.00
Trash Removal                                    0.00              0.00      144.00      221.00       365.00
Smallwares                                       0.00              0.00      159.00      239.00       398.00
Projection Supplies                              0.00              0.00    1,500.00      879.00     2,379.00
Film Supplies                                    0.00              0.00        0.00        0.00         0.00

Total Repair & Maintenance                   5,000.00          3,500.00   10,568.00   13,261.00    32,329.00
Office & General Administrative Expense
Facility Expense
Rent or Lease                               30,072.58              0.00   19,857.00   29,835.00    79,764.58
Security                                         0.00              0.00        0.00        0.00         0.00
Storage                                          0.00              0.00        0.00        0.00         0.00
Telephone                                        0.00              0.00    1,600.00    1,600.00     3,200.00
Property Tax                                     0.00              0.00   14,748.00   14,748.00    29,496.00
Other Taxes                                      0.00              0.00        0.00        0.00         0.00
Armored Car Service                              0.00              0.00        0.00        0.00         0.00
Quality Control                                  0.00              0.00        0.00        0.00         0.00
Printing                                         0.00              0.00      154.00      236.00       390.00

Total Facility Expense                      30,072.58              0.00   36,359.00   46,419.00   112,850.58
Office Expense
Merchant Service Fees                            0.00              0.00    7,000.00   10,296.00    17,296.00
Office Expense                                   0.00              0.00        0.00        0.00         0.00
Bank Charges                                     0.00              0.00        0.00        0.00         0.00
Delivery                                         0.00              0.00       17.00       26.00        43.00
Dues & Subscriptions                             0.00              0.00      417.00      417.00       834.00
Professional Fees                                0.00              0.00      267.00      400.00       667.00
Equipment                                        0.00              0.00       10.00       15.00        25.00
Film Booking Fee                                 0.00              0.00      256.00      368.00       624.00
Licenses & Permits                               0.00              0.00       22.00       31.00        53.00
Supplies                                         0.00              0.00        3.00        4.00         7.00
Travel                                           0.00              0.00      165.00      238.00       403.00
Entertainment                                    0.00              0.00        0.00        0.00         0.00
Staff Benefits                                   0.00              0.00       94.00      135.00       229.00
Uniform                                          0.00              0.00       65.00      101.00       166.00

Total Office Expense                             0.00              0.00    8,316.00   12,031.00    20,347.00
Other Expenses
Royalty Fees                                     0.00              0.00    3,971.00    5,967.00     9,938.00
Internet Fees                                    0.00              0.00    6,507.00    9,788.00    16,295.00
Management Fees                                  0.00              0.00    5,957.00    8,951.00    14,908.00


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Total Other Expenses                          0.00              0.00       16,435.00     24,706.00      41,141.00
Total EBIDTA Expenses                    59,018.90          34,040.72     171,172.00   197,630.00      461,861.62
Net EBIDTA                      ($      59,018.90) ($      40,930.72) $    34,849.00 $   8,391.00 ($   56,709.62)

Depreciation                                  0.00              0.00        7,750.00      7,750.00      15,500.00
Interest Expense                              0.00              0.00            0.00          0.00           0.00
Total Other Expenses                          0.00              0.00        7,750.00      7,750.00      15,500.00

Net Income                      ($      59,018.90) ($      40,930.72) $    27,099.00 $     641.00 ($   72,209.62)


Ops                                     360,000.00
Tax                                      21,897.26




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                                        Projection             Projection           Projection            Projection         Total
                                    05/15/20 - 06/14/20    06/15/20 - 07/02/20   07/03/20- 8/6/20         8/7/20- 9/4/20
Revenues                                                                               P7            P8
Box Office Receipts
Box Office Receipts
Retail Ticket Sales                 $              -    $                -    $         34,132.00 $          34,132.00 $ 68,264.00
Internet Ticket Sales                              0.00                  0.00            53,131.00            53,131.00 106,262.00
Fandango Ticket Sales                              0.00                  0.00             8,327.00             8,327.00  16,654.00
Iphone Sales                                       0.00                  0.00            11,063.00            11,063.00  22,126.00
Talent Fee Sales                                   0.00                  0.00               169.00               169.00     338.00
Internet Fee Sales                                 0.00                  0.00
                                                                         0.00             9,355.00
                                                                                              0.00             9,355.00
                                                                                                                   0.00     18,710.00
Total Box Office Receipts                          0.00                  0.00          116,177.00            116,177.00     232,354.00

Venue Rental & Other Income
Venue Rental Sales                                 0.00                  0.00                 0.00                 0.00              -
Special Event Sales                                0.00                  0.00                 0.00                 0.00              -
Gift Card Discount Revenue                         0.00                  0.00                 0.00                 0.00              -

Total Venue Rental & Other Income                  0.00                  0.00                 0.00                 0.00              0.00

Gross Ticket & Venue Rental                        0.00                  0.00          116,177.00            116,177.00     232,354.00

Food and N/A Beverage Sales
Food Sales                                         0.00                  0.00          108,541.00            108,541.00    217,082.00
NA Beverage Sales                                  0.00                  0.00           17,206.00             17,206.00     34,412.00
Dessert Sales                                      0.00                  0.00            8,527.00              8,527.00     17,054.00
Retail Sales                                       0.00                  0.00              429.00                429.00        858.00

Total Food & N/A Beverage Sales                    0.00                  0.00          134,703.00            134,703.00     269,406.00

Beer & Wine Sales
Bottled Beer Sales                                 0.00                  0.00             3,694.00             3,694.00      7,388.00
Draft Beer Sales                                   0.00                  0.00            29,571.00            29,571.00     59,142.00
Wine Sales                                         0.00                  0.00             6,716.00             6,716.00     13,432.00
Liquor Sales                                       0.00                  0.00            23,140.00            23,140.00     46,280.00

Total Beer and Wine Sales                          0.00                  0.00            63,121.00            63,121.00     126,242.00

Gross Food & Ale Sales                             0.00                  0.00          197,824.00            197,824.00     395,648.00

Food Comps                                         0.00                  0.00          (11,210.00)          (11,210.00)    (22,420.00)
Alc Comps                                          0.00                  0.00           (1,913.00)           (1,913.00)     (3,826.00)
Total Comps                                        0.00                  0.00          (13,123.00)          (13,123.00)     (26,246.00)

Net Sales                                          0.00                  0.00          300,878.00            300,878.00     601,756.00

Cost of Sales
Cost of Box Office
Film Rental                                        0.00                  0.00            53,194.00            53,194.00     106,388.00
Film Shipping                                      0.00                  0.00               173.00               173.00         346.00
Box Office Split                                   0.00                  0.00                 0.00                 0.00           0.00
Access Digital Cinema                              0.00                  0.00               352.00               352.00         704.00
Projector Usage Fees                               0.00                  0.00                 0.00                 0.00           0.00
Special Event Supplies                             0.00                  0.00             2,716.00             2,716.00       5,432.00
Creative Department Billing                        0.00                  0.00                 0.00                 0.00           0.00

Total Cost of Box Office                           0.00                  0.00            56,435.00            56,435.00     112,870.00

Cost of Food N/A Bev
COGS - Dairy                                       0.00                732.00             3,772.00             3,772.00       8,276.00
COGS - Meats                                       0.00                712.00             2,155.00             2,155.00       5,022.00



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COGS - Seafood                       0.00          92.00            674.00        674.00     1,440.00
COGS - Poultry                       0.00         312.00          2,829.00      2,829.00     5,970.00
COGS - Produce                       0.00         216.00          1,886.00      1,886.00     3,988.00
COGS - Bakery                        0.00         184.00          1,751.00      1,751.00     3,686.00
COGS - Grocery                       0.00         104.00          7,409.00      7,409.00    14,922.00
COGS - Paper                         0.00         576.00          3,368.00      3,368.00     7,312.00
COGS - Desserts                      0.00         356.00          2,155.00      2,155.00     4,666.00
COGS - N/A Beverages                 0.00         716.00          2,290.00      2,290.00     5,296.00

Total Cost of Food N/A Bev            0.00      4,000.00         28,289.00     28,289.00    60,578.00

Cost of Beer & Wine
COGS - Bottled Beer                  0.00         213.00            776.00        776.00     1,765.00
COGS - Draft Beer                    0.00       1,568.00          5,084.00      5,084.00    11,736.00
COGS - Wine                          0.00         256.00          2,015.00      2,015.00     4,286.00
COGS - Liquor                        0.00         853.00          2,258.00      2,258.00     5,369.00

Total Cost of Beer & Wine             0.00      2,890.00         10,133.00     10,133.00    23,156.00

Cost of Venue Rental
VR Commission                         0.00          0.00               0.00         0.00         0.00
Celebrity Appearance                  0.00          0.00               0.00         0.00         0.00
Merchandise                           0.00          0.00               0.00         0.00         0.00
COGS - Smallwares                     0.00          0.00               0.00         0.00         0.00

Total Cost of Venue Rental            0.00          0.00               0.00         0.00         0.00

Total Cost of Goods Sold              0.00      6,890.00         94,857.00     94,857.00   196,604.00

Gross Profit                          0.00     (6,890.00)       206,021.00    206,021.00   405,152.00

Expenses
Payroll
Front of House
Server/Waiter                         0.00          0.00          8,056.00      8,056.00    16,112.00
Bar                                   0.00          0.00          5,967.00      5,967.00    11,934.00
Runner                                0.00          0.00          4,642.00      4,642.00     9,284.00
Trainer                               0.00          0.00            527.00        527.00     1,054.00
Trainee                               0.00          0.00            895.00        895.00     1,790.00
Private Party Server                  0.00          0.00              0.00          0.00         0.00
Labor Service Fees                    0.00          0.00              0.00          0.00         0.00

Total Front of House                  0.00          0.00         20,087.00     20,087.00    40,174.00
Back of House
BOH
Kitchen                               0.00          0.00         18,795.00     18,795.00    37,590.00
Expo                                  0.00          0.00              0.00          0.00         0.00

Total Back of House                   0.00          0.00         18,795.00     18,795.00    37,590.00
Manager Expenses
Manager                           7,799.09      9,895.89          7,230.00      7,230.00    32,154.98
Manager Hourly                        0.00          0.00          1,846.00      1,846.00     3,692.00
PCE                                   0.00          0.00          2,290.00      2,290.00     4,580.00
Programming                           0.00          0.00          1,600.00      1,600.00     3,200.00
Salary Allocations                    0.00          0.00          2,154.00      2,154.00     4,308.00
Manager Bonus                         0.00          0.00              0.00          0.00         0.00

Total Manager                     7,799.09      9,895.89         15,120.00     15,120.00    47,934.98
Box Office Labor
Tickets                               0.00          0.00          1,640.00      1,640.00     3,280.00
Projection                            0.00          0.00          1,154.00      1,154.00     2,308.00
Total Box Office Labor                0.00          0.00          2,794.00      2,794.00     5,588.00
Other Labor


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Maintenance                                    0.00          0.00               922.00     922.00      1,844.00
Meeting                                        0.00          0.00                91.00      91.00        182.00

Total Other Labor                              0.00          0.00          1,013.00       1,013.00     2,026.00
Employee Related
FUTA                                          0.00          0.00             445.00         445.00       890.00
Medicare-Matching                           128.68        163.28           1,697.00       1,697.00     3,685.97
Social Security- Matching                   483.54        613.55           6,923.00       6,923.00    14,943.09
SUI                                           0.00          0.00           4,167.00       4,167.00     8,334.00
Vacation                                      0.00          0.00               0.00           0.00         0.00
Payroll Processing Fees                     100.00        100.00           1,025.00       1,025.00     2,250.00
Recruiting                                    0.00          0.00               0.00           0.00         0.00

Total Employee Related                      712.23        876.83          14,257.00      14,257.00    30,103.06

Total Payroll                              8,511.32     10,772.72         72,066.00      72,066.00   163,416.04
Promotional
Promotional
Advertising                                    0.00      3,333.00          2,000.00       2,000.00     7,333.00
Adv. Creative Dept Billing                     0.00          0.00             27.00          43.00        70.00
Advertising - Local                            0.00          0.00            383.00       1,580.00     1,963.00
Marketing                                      0.00      1,000.00          2,404.00       2,404.00     5,808.00
Special Events                                 0.00          0.00             70.00         110.00       180.00
Charitable Contributions                       0.00          0.00              0.00           0.00         0.00

Total Promotional                              0.00      4,333.00          4,884.00       6,137.00    15,354.00
Insurance
Commercial                                 4,790.00      4,790.00          5,051.00       5,051.00    19,682.00
Health                                       645.00        645.00          1,622.00       1,622.00     4,534.00
Life Insurance                                 0.00          0.00              0.00           0.00         0.00
Workers Compensation                           0.00          0.00          2,375.00       2,375.00     4,750.00

Total Insurance                            5,435.00      5,435.00          9,048.00       9,048.00    28,966.00
Utilities
Cable                                        470.00        470.00            262.00          76.00     1,278.00
Electric                                   8,304.00      8,304.00         10,894.00      10,315.00    37,817.00
Gas                                          990.00        990.00            736.00       1,060.00     3,776.00
Water                                        236.00        236.00          1,604.00       2,511.00     4,587.00

Total Utilites                            10,000.00     10,000.00         13,496.00      13,962.00    47,458.00
Repair & Maintenance
Disposal Fees                                  0.00          0.00              0.00           0.00         0.00
Equipment Repairs                              0.00          0.00          2,237.00       3,240.00     5,477.00
Kitchen Equipment Repair                       0.00          0.00          1,314.00         669.00     1,983.00
Projection Repair                              0.00          0.00              0.00           0.00         0.00
Preventative Maintenance                       0.00          0.00          1,356.00       2,013.00     3,369.00
Fixed Rental                                   0.00          0.00          1,202.00       1,843.00     3,045.00
Janitorial                                 5,000.00      3,500.00          2,656.00       4,157.00    15,313.00
Pest Control                                   0.00          0.00              0.00           0.00         0.00
Trash Removal                                  0.00          0.00            144.00         221.00       365.00
Smallwares                                     0.00          0.00            159.00         239.00       398.00
Projection Supplies                            0.00          0.00          1,500.00         879.00     2,379.00
Film Supplies                                  0.00          0.00              0.00           0.00         0.00

Total Repair & Maintenance                 5,000.00      3,500.00         10,568.00      13,261.00    32,329.00
Office & General Administrative Expense
Facility Expense
Rent or Lease                             49,505.43          0.00         19,857.00      29,835.00    99,197.43
Security                                       0.00          0.00              0.00           0.00         0.00
Storage                                        0.00          0.00              0.00           0.00         0.00
Telephone                                      0.00          0.00          1,600.00       1,600.00     3,200.00



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Property Tax                          0.00           0.00          14,748.00      14,748.00      29,496.00
Other Taxes                           0.00           0.00               0.00           0.00           0.00
Armored Car Service                   0.00           0.00               0.00           0.00           0.00
Quality Control                       0.00           0.00               0.00           0.00           0.00
Printing                              0.00           0.00             154.00         236.00         390.00

Total Facility Expense           49,505.43           0.00          36,359.00      46,419.00     132,283.43
Office Expense
Merchant Service Fees                 0.00           0.00           7,000.00      10,296.00      17,296.00
Office Expense                        0.00           0.00               0.00           0.00           0.00
Bank Charges                          0.00           0.00               0.00           0.00           0.00
Delivery                              0.00           0.00              17.00          26.00          43.00
Dues & Subscriptions                  0.00           0.00             417.00         417.00         834.00
Professional Fees                     0.00           0.00             267.00         400.00         667.00
Equipment                             0.00           0.00              10.00          15.00          25.00
Film Booking Fee                      0.00           0.00             256.00         368.00         624.00
Licenses & Permits                    0.00           0.00              22.00          31.00          53.00
Supplies                              0.00           0.00               3.00           4.00           7.00
Travel                                0.00           0.00             165.00         238.00         403.00
Entertainment                         0.00           0.00               0.00           0.00           0.00
Staff Benefits                        0.00           0.00              91.00         135.00         226.00
Uniform                               0.00           0.00              65.00         101.00         166.00

Total Office Expense                  0.00           0.00           8,313.00      12,031.00      20,344.00
Other Expenses
Royalty Fees                          0.00           0.00           3,971.00       5,967.00       9,938.00
Internet Fees                         0.00           0.00           6,507.00       9,788.00      16,295.00
Management Fees                       0.00           0.00           5,957.00       8,951.00      14,908.00
Total Other Expenses                  0.00           0.00          16,435.00      24,706.00      41,141.00
Total EBIDTA Expenses            78,451.75       34,040.72        171,169.00     197,630.00    481,291.47
Net EBIDTA                ($    78,451.75) ($   40,930.72) $       34,852.00 $     8,391.00 ($ 76,139.47)


Depreciation                          0.00           0.00           7,750.00       7,750.00      15,500.00
Interest Expense                      0.00           0.00               0.00           0.00           0.00
Total Other Expenses                  0.00           0.00           7,750.00       7,750.00      15,500.00

Net Income                ($    78,451.75) ($   40,930.72) $       27,102.00 $      641.00 ($   91,639.47)


Ops                             315,000.00
Tax                              25,881.64
Payroll                   $     245,999.25
Total                     $     586,880.89




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